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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                          GREAT FALLS DIVISION

UNITED STATES OF AMERICA,                           CR-15-02-GF-BMM

           Plaintiff,

    vs.                                                    ORDER

DONELLE PARKER,

           Defendant.


      United States Magistrate Judge John Johnston entered Findings and

Recommendations in this matter on September 5, 2018. (Doc. 177). Neither party

filed objections. When a party makes no objections, the Court need not review de

novo the proposed Findings and Recommendations. Thomas v. Arn, 474 U.S. 140,

153-52 (1986). This Court will review Judge Johnston’s Findings and

Recommendations, however, for clear error. McDonnell Douglas Corp. v.

Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313 (9th Cir. 1981).

      Judge Johnston conducted a revocation hearing on June 5, 2018. The United

States alleged that Defendant Parker violated the conditions of her supervised

release by using methamphetamine. (Doc. 177 at 2). Parker admitted to the

violation. Id. The violation proves serious and warrants revocation of Parker’s

supervised release.


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        Judge Johnston has recommended that the Court revoke Parker’s supervised

release and commit Parker to the custody of the Bureau of Prisons for time served

(Doc. 177 at 3). Judge Johnston further has recommended that supervised release

follow her custody period until June 30, 2019. Id.

        The Court finds no clear error in Judge Johnston’s Findings and

Recommendations. Parker’s violation represents a serious breach of the Court’s

trust. A sentence custody of time served is sufficient, but not greater than

necessary. The court deems it appropriate, however, to impose supervised release

until June 30, 2019.

        Accordingly, IT IS ORDERED that Judge Johnston’s Findings and

Recommendations (Doc. 177) are ADOPTED IN FULL.

        IT IS FURTHER ORDERED that Defendant Donelle Parker receive a

custody sentence for time served, followed by supervised release until June 20,

2019.

        DATED this 18th day of October, 2018.




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